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           IN THE UNITED STATES DISTRICT COURT FOR THE

                      EASTERN DISTRICT OF VIRGINIA

                                Alexandria Division

 UNITED STATES OF AMERICA

                                                      CASE NO. 1:19-.P€r- .j
                                                      Pentagon Docket
                                                      July 18, 2019
 CONSTANCE-VELLA L. AIKENS,

                       Defendant.



                                  CRIMINAL INFORMATION
                           (Count 1 Class B Misdemeanor - 7193540)

        THE UNITED STATES ATTORNEY CHARGES THAT:

        On or about April 24, 2019, on the Pentagon Reservation, in the Eastern District of

 Virginia, the Defendant, CONTANCE-VELLA L. AIKENS,did knowingly, wilfully and

 unlawfully park a motor vehicle on the Pentagon Reservation after her parking privileges

 had been administratively suspended by the Pentagon Parking Control Office for a period

 of one year due to excessive accumulation of parking infractions.

       (In violation of Title 32, Code of Federal Regulations, Part §234.18).
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